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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

INTERNATIONAL BUSINESS MACHINES
CORPORATION,

Plaintiff,
v.
GROUPON, INC.

Defendant.

)
) C.A.No. 16-122-LPS

)
JURY TRIAL DEMANDED

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) PUBLIC VERSION
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LETTER TO THE HONORABLE LEONARD P. STARK
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September 29, 2017

VIA ELECTRONIC FILING Public Version Dated: October 12, 2017

The Honorable Leonard P. Stark

U.S. District Court for the District of Delaware

J. Caleb Boggs Federal Building PUBLIC VERSION
844 N. King Street

Wilmington, DE 19801-3556

Re: = International Business Machines Corporation v. Groupon, Inc., et al.,
C.A. No. 16-122-LPS

Dear Chief Judge Stark:

IBM moves to strike late-disclosed invalidity theories from Groupon’s final invalidity
contentions based on Groupon’s repeated failure to meet discovery deadlines and Groupon’s
incomplete and misleading discovery responses. Specifically, IBM moves to strike the
“Spinning the Web,” “Amazon 1995 Website,” and “Williams” theories (collectively the “Late-
Disclosed Theories”) asserted against U.S. Patent No. 5,961,601 (601 patent”), as reflected on
pages 8 and 9 of Exhibit 1.1 Groupon and its counsel have long had access to the documents and
witnesses that form the basis of the Late-Disclosed Theories but inexplicably failed to disclose
those theories until after the close of fact discovery. For instance, in February of 2017,
Groupon’s counsel began emailing Mr. Davis about source code from the alleged Amazon 1995
Website system. But Groupon waited until August 23, 2017 to disclose Mr. Davis as a potential
witness, waited until after fact discovery to make the source code available, and did not identify
an invalidity theory based on the Amazon 1995 Website until last Monday.

I. Factual Background

On February 22, 2017, Groupon served its Preliminary Invalidity Contentions, which did
not mention the Amazon 1995 Website theory or the other Late-Disclosed Theories. Ex. 2 at 6-
7. Later that night, counsel for Groupon, Saina Shamilov, emailed Paul Davis and asked
 cerraprmmmenocanreserarseil Ex. 3 at GROUP309560. Ms. Shamilov knew Paul Davis
and the Amazon 1995 Website system since at least 2009, when she relied on them in another
case. See Cordance Corp. v. Amazon.com, Inc., 639 F. Supp. 2d 406, 410, 429 (D. Del. 2009)
(listing S. Shamilov as counsel and discussing Paul Davis and Amazon source code from 1995).
On February 23, 2017, Ms. Shamilov followed up, stating that

.” Ex. 3 at GROUP309559. On May 5, 2017,

Groupon produced additional prior art and updated its preliminary invalidity contentions but
again did not disclose any of the Late-Disclosed Theories. Ex. 4 at 1.

May 19, 2017 was the deadline for the parties to “supplement, inter alia, the identification
of all accused products and all invalidity references.” D.I. 17 416. By May 19, 2017, counsel

 

' All exhibits are to the attached Declaration of Karim Z. Oussayef (“Decl.”).
2 IBM learned of these emails when Groupon produced them after the close of fact discovery.
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for Groupon believed that the Amazon 1995 Website was prior art, as reflected in emails
between Ms. Shamilov and Mr. Davis. Ex. 3 at GROUP309559. Counsel for Groupon also had
access to the prosecution history, which cites the author of the Spinning the Web reference. Ex.
5 at 667. And counsel for Groupon has been in the possession of the Williams reference, since at
least February 22, 2017. Dec. ] 8. Although Groupon had access to information about each of
the Late-Disclosed Theories, Groupon did not disclose any of them by May 19, 2017.

On August 23, 2017, Groupon served its Second Amended Initial Disclosures, which for
the first time, identified Paul Davis as an individual likely to have knowledge about “Prior art to
USS. Patent No. 5,961,601.” Ex. 7 at 3. Groupon also stated that Paul Davis’ contact
information was “[u]nknown at this time.” /d. That statement was false. By that time, Groupon
had exchanged several emails with Paul Davis which reflected knowledge of his contact
information. Ex. 3 at GROUP309558
MRR cs (same). Counsel for Groupon and Mr. Davis had also engaged
in several phone calls. Jd. As soon as Groupon disclosed Mr. Davis, IBM asked for his contact
information and followed up three days later. Exs. 8-9. But Groupon never responded to those
emails and never updated its initial disclosures to provide contact information for Mr. Davis.

On September 6, 2017, the parties agreed to extend the close of fact discovery from
September 8, 2017 to September 15, 2017 to “permit the parties to accommodate all previously
noticed fact depositions.” D.I. 148. On September 12, 2017, Groupon served a subpoena on
Amazon requesting “[i]nformation sufficient to show embedding session information into URLs
during the operation of Your Amazon.com website from 1995-1996.” D.I. 157 at 5. Just after
the close of fact discovery, on September 15, 2017, IBM was informed that “Amazon code
responsive to Groupon’s subpoena is available for inspection at Fenwick’s [Groupon’s counsel]
Mountain View Office.” Ex. 10. There is little doubt that Groupon coordinated with Amazon
well before September 12, 2017, based on the fact that Amazon is a former client of Groupon’s
counsel and the fact that Amazon produced its source code just three days after receiving the
subpoena.’ Yet Groupon never identified Amazon in its initial disclosures.

On September 25, 2017, over a week after the close of fact discovery, Groupon served its
Final Invalidity Contentions, which, for the first time, identified the Late-Disclosed Theories. Ex.
1. During a meet and confer on the issue, counsel for Groupon admitted that they had begun
discussing the Groupon source code with Paul Davis before the source code was made available
to IBM and admitted that there was nothing that prevented Groupon from locating Spinning the
Web or Williams references before the May 19, 2017 deadline. Decl. { 14. In correspondence,
counsel for Groupon admitted that it expects to retain Mr. Davis as a paid fact witness and that
counsel for Groupon has had access to Amazon source code since 2009. Ex. 11.

I. The Pennypack Factors Warrant Exclusion of the Late-Disclosed Theories.

“Ifa party fails to provide information . . . as required by Rule 26(a) or (e), the party is
not allowed to use that information . . . to supply evidence on a motion, at a hearing, or at a trial,
unless the failure was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1). To
evaluate that standard, courts consider various factors, including “(1) the importance of the
information withheld, (2) the prejudice or surprise to the party against whom the evidence is

 

3 In contrast it took several months for Groupon to produce its own source code.
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offered, (3) the likelihood of disruption of the trial, (4) the possibility of curing the prejudice, (5)
the explanation for the failure to disclose, and (6) the presence of bad faith or willfulness in not
disclosing the evidence.” St. Clair Intellectual Prop. Consultants, Inc. v. Matsushita Elec. Indus.

Co., No. CA 04-1436-LPS, 2012 WL 1015993, at *3 (D. Del. Mar. 26, 2012).

As discussed above, Groupon failed to abide by its discovery obligations to (1) promptly
update initial disclosures and provide accurate information about Mr. Davis and Amazon, (2)
identify the Late-Disclosed Theories by the May 19, 2017 deadline to disclose all invalidity
theories, (3) update its invalidity contentions to include the Late-Disclosed Theories during fact
discovery, and (4) produce allegedly relevant source code during fact discovery. The Pennypack
factors weigh strongly in favor of exclusion based on Groupon’s conduct.

Regarding Pennypack factor (1), the Late-Disclosed theories are not sufficiently
important to excuse Groupon’s conduct. Groupon has the option to rely on any of the other 25
claim charts that Groupon has asserted against the ’601 patent. Ex. 1 at 8-9. Furthermore,
asserting the Amazon 1995 Website theory at trial would be futile because there is no evidence
in the record connecting the late-produced source code to Amazon’s website in 1995.

Regarding Pennypack factors (2), (3), and (4), the prejudice to IBM is significant and
cannot be cured. IBM’s experts have repeatedly traveled to the California office of Groupon’s
counsel and have spent dozens of hours reviewing the source code for Groupon’s own website
over the course of several months to analyze its functionality. IBM’s experts relied heavily on
internal documents and testimony from Groupon and its employees to help understand
Groupon’s source code. Now, to fully analyze the Amazon 1995 Website source code, IBM’s
experts would have to repeat this onerous process without information from relevant documents
or witnesses. IBM is at a significant disadvantage because Groupon’s counsel has known how
the Amazon source code functions for years and has been secretly working with Mr. Davis to
develop an invalidity theory against the ’601 patent for months. Furthermore, Groupon’s
counsel refuses to produce Amazon’s source code directly to IBM. Ex. 12 at 1. Thus,
Groupon’s experts and counsel have convenient access to Amazon’s source code anytime they
choose while IBM’s experts and counsel must fly across the country to conduct their review. If
Groupon’s Late-Disclosed Theories are not stricken, IBM will be forced to divert significant
resources from preparing expert reports to attempt to analyze the Late-Disclosed Theories,
without the benefit of fact discovery on those theories.

Regarding Pennypack factors (5) and (6), during a meet and confer on this issue,
Groupon offered no explanation for its conduct besides Groupon’s desire to further investigate
and confirm its invalidity theories before disclosing them to IBM. Decl. q 14, Ex. 12 at 1. Those
excuses reflect Groupon’s lack of diligence and do not justify Groupon’s conduct. Furthermore,
Groupon’s behavior goes beyond mere failure to disclose relevant information. Groupon made a
conscious decision to identify Paul Davis as a witness with relevant information while claiming
that his contact information was “unknown” when, in fact, Groupon had been emailing and
calling him for months. Groupon’s utter disregard for its discovery obligations, coupled with
Groupon’s failure to respond to IBM’s repeated emails requesting Mr. Davis’s contact
information, weighs strongly in favor of exclusion.

For all the reasons discussed above, IBM’s Motion to Strike should be granted.
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Respectfully,
/s/ Bindu A, Palapura
Bindu A. Palapura
BAP/msb/5418343/43155

ce: Clerk of the Court (via hand delivery)
Counsel of Record (via electronic mail)
